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                                                               March 10, 2017


             VIA ELECTRONIC FILING
             The Honorable Judge Ellen L. Hollander
             United States District Court
             101 West Lombard Street
             Baltimore, Maryland 21201

                          Re:         Ronald H. Clark, et al. v. Your Doc's In, et al.
                                      Civil No.: ELH-15-2254

             Dear Judge Hollander:

                     After the pre-trial conference last Friday, the parties engaged in discussions about
             potentially resolving this matter without need for a jury trial. We have agreed to submit the case
             to a binding arbitration before an arbitrator that has been selected by the parties. As part of the
             agreement, the parties will submit their evidence to the arbitrator who will decide liability and if
             necessary, damages. Whatever that determination is, would be binding on the parties. In the
             event of a verdict on behalf of the Plaintiff, the parties have agreed that the Plaintiffs would
             execute a Release with confidentiality and after payment of the award, a Stipulation of Dismissal
             would be filed with the Court. In the event of a verdict for the Defendant, a Stipulation of
             Dismissal with prejudice would be filed immediately.

                    The parties respectfully request that the Court permit us to proceed to arbitration with a
             continuance of the trial date and after resolution by arbitration, to file the Stipulation of
             Dismissal.
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       Counsel are available for a conference to address this issue if the Court desires a
conference.


                                              Respectfully submitted,

                                              /s/ Gilbert F. Shelsby, Jr.

                                              Gilbert F. Shelsby, Jr.

GFS:bh

cc:    Michael C. Rosendorf, Esquire
       Frances O'Leary, Esquire
